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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


    ATLANTIC WINDOW CLEANING, INC.

                            Plaintiff,

    v.                                                    Case No.: 22-60409-CIV-SMITH/VALLE

    RACHEL EULER, et al.

                            Defendant.


                            STIPULATED CONFIDENTIALITY ORDER

         This Cause is before the Court upon the parties’ Joint Motion for Confidentiality Order (ECF No.

20). Upon due consideration, and the Court having found good cause for the entry of the Stipulated

Confidentiality Order, the Joint Motion is GRANTED.

         It is hereby ORDERED that the following restrictions and procedures shall apply to certain

information, documents, and excerpts from documents supplied by the parties to each other in response

to discovery requests:


        WHEREAS, the parties have served and received discovery requests requiring the disclosure
of information regarded as proprietary and confidential; and, it is anticipated that the parties shall be
producing documents during the discovery phase of this litigation, some of which will be regarded as
proprietary and confidential by the producing party; and

        WHEREAS, it is anticipated that pleadings, discovery papers, deposition and trial testimony
in this matter may include reference to documents or information regarded as confidential and
proprietary by the producing party or otherwise refer to confidential and proprietary information; and

       WHEREAS, Rule 26(c) of the Federal Rules of Civil Procedure provides for entry of a
confidentiality order such as is contained here:

IT IS AGREED by and among the parties as follows:

                              TERMS OF CONFIDENTIALITY ORDER

    1.       Proceedings and Information Governed.

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          This Confidentiality Order and any amendments or modifications hereto (the
  “Confidentiality Order”) shall govern any document, information or other thing furnished by
  any party, to any other party, and includes non-parties who receive a subpoena in connection
  with this action. The information protected includes, but is not limited to, answers to
  interrogatories, answers to requests for admission, responses to requests for production of
  documents, deposition transcripts and videotapes, deposition exhibits, and other writings or
  things produced, given or filed in this action that are designated by a party as “Confidential
  Information” or “Confidential Attorneys’ Eyes Only Information” in accordance with the terms
  of this Confidentiality Order, as well as to any copies, excerpts, abstracts, analyses, summaries,
  descriptions, or other forms of recorded information containing, reflecting, or disclosing such
  information.

   2.     Designations of Protected Information.

          For purposes of this Confidentiality Order, the following designations apply to protect
   the confidentiality of information:

           a. Confidential Information. The "Confidential Information" designation shall mean
   that the document is comprised of trade secrets or commercial information which is not publicly
   known and is of technical or commercial advantage to its possessor, in accordance with Federal
   Rule of Civil Procedure 26(c)(G), or other information required by law or agreement to be kept
   confidential.

          b. Confidential Attorneys’ Eyes Only. The "Confidential Attorneys’ Eyes Only"
   designation shall mean that the document is comprised of information that the producing party
   deems especially sensitive, which may include, but is not limited to, confidential research and
   development, financial, technical or marketing information, or any other sensitive trade secret
   information.

         c. Exclusion of Certain Information. Information or materials designated as
   Confidential Information and Confidential Attorneys’ Eyes Only does not include, and this
   Confidentiality Order shall not apply to, information described under Paragraph 5 hereof.

            d. Labeling Documents. Documents and things produced during the course of this
   litigation within the scope of Paragraph 2(a) above, may be designated by the producing party
   as containing Confidential Information by placing on each page and each thing a legend
   substantially as follows: CONFIDENTIAL INFORMATION

          Documents and things produced during the course of this litigation within the scope of
   Paragraph 2(b) above may be designated by the producing party as containing Confidential
   Attorneys’ Eyes Only by placing on each page and each thing a legend substantially as follows:
   CONFIDENTIAL ATTORNEYS EYES’ ONLY

   3.     Acceptance of Information; Inadvertent Failure to Designate.

          Acceptance by a party or its attorney of information disclosed under designation as
   protected shall not constitute an admission that the information is, in fact, entitled to protection.
   Inadvertent disclosure of information without confidentiality designation which the disclosing
   party intended to designate as protected shall not constitute waiver of any right to claim the
   information as protected upon discovery of the error.

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          The inadvertent failure to designate or withhold any information as confidential or
  privileged will not be deemed to waive a later claim as to its confidential or privileged nature,
  or to stop the producing party from designating such information as confidential at a later date
  in writing and with particularity. The information shall be treated by the receiving party as
  confidential from the time the receiving party is notified in writing of the change in the
  designation.

   4.     Challenge to Confidentiality Designations.

          If the parties or their attorneys disagree as to whether certain information should be
   protected, they are obligated to negotiate in good faith regarding the designation by the
   disclosing party.

           Any receiving party disagreeing with a confidentiality designation may request in writing
   that the producing party change the designation. The producing party shall then have ten (10)
   business days after receipt of a challenge notice to advise the receiving party whether or not it
   will change the designation. If the parties are unable to reach agreement after the expiration of
   this ten (10) business day timeframe, the receiving party may at any time thereafter seek a Court
   Order to alter the confidential status of the designated information. Until any dispute under this
   Paragraph is ruled upon by the Court, the designation shall remain in full force and effect and
   the information shall continue to be accorded the confidential treatment required by this
   Confidentiality Order.

          The party designating information as protected will, when its designation is timely
   challenged, bear the ultimate burden of proving that the information should be protected.

   5.     Information Not to Be Designated as Protected.

           Information may not be designated as subject to any form of protection if it (a) is, or
   becomes, public knowledge, as shown by publicly available writings, other than through
   violation of the terms of this document; (b) is acquired by a non-designating party or non-party
   witness from a third party lawfully possessing such information and having no obligation to the
   owner of the information; (c) was lawfully possessed by a non-designating party or non-party
   witness prior to the opening of discovery in this proceeding, and for which there is written
   evidence of the lawful possession; (d) is disclosed by a non-designating party or non-party
   witness legally compelled to disclose the information; or (e) is disclosed by a non-designating
   party with the approval of the designating party.

   6.     Disclosure and Use of Confidential Information and Confidential Attorneys’
          Eyes Only Information.

          a. Information and materials designated as Confidential Information or Confidential
   Attorneys’ Eyes Only may only be used for purposes of preparation, trial and appeal of this
   action. Information and materials designated as Confidential Information or Confidential
   Attorneys’ Eyes Only may not be used under any circumstances for applying for any state or
   federal trademark registration, domain name registration, for any party’s business, or for any
   other purpose whatsoever.

          b. Subject to Paragraph 6(e) below, Confidential Information may be disclosed by the
   receiving party only to the following individuals provided that such individuals are informed of
   the terms of this Confidentiality Order: (a) employees of the receiving party who are required in
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  good faith to provide assistance in the conduct of this litigation, including any settlement
  discussions, and who are identified as such in writing to counsel for the designating party in
  advance of the disclosure; (b) outside counsel for the receiving party; (d) supporting personnel
  employed by the receiving party, such as paralegals, legal secretaries, data entry clerks, legal
  clerks and private photocopying services; (e) experts or consultants; and (f) any persons
  requested by counsel to furnish services such as document coding, image scanning, mock trial,
  jury profiling, translation services, court reporting services, demonstrative exhibit preparation,
  or the creation of any computer database from documents.

          c. Subject to Paragraph 6(e) below, Confidential Attorneys’ Eyes Only information may
   be disclosed by the receiving party only to the following individuals provided that such
   individuals are informed of the terms of this Confidentiality Order: outside counsel for the
   receiving party and supporting personnel employed by outside counsel, such as paralegals, legal
   secretaries, data entry clerks, legal clerks, private photocopying services.

          d. Confidential Information or Confidential Attorneys’ Eyes Only may be disclosed to
   a person, not already allowed access to such information under this Confidentiality Order, if:
   counsel for the party designating the material agrees that the material may be disclosed to the
   person. In the event of disclosure under this Paragraph, only the reporter, the person, his or her
   counsel, the judge and persons to whom disclosure may be made, and who are bound by the
   Confidentiality Order, may be present during the disclosure or discussion of Confidential
   Information. Disclosure of material pursuant to this Paragraph shall not constitute a waiver of
   the confidential status of the material so disclosed.

          e. Judges, attorneys, and other employees of the Court are bound to honor the parties'
   designations of information as protected but are not required to sign forms acknowledging the
   terms and existence of this Confidentiality Order.

   7.     Disclosure to Non-Party.

            Non-party witnesses include any individuals to be deposed during discovery or testifying
   at trial, whether willingly or under subpoena issued by a court of competent jurisdiction over the
   witness. Prior to disclosure of protected information by any party or its attorney to any individual
   not already provided access to such information by the terms of this Confidentiality Order, the
   individual shall be informed of the existence of this Confidentiality Order and provided with a
   copy to read. The individual will then be required to certify in writing that this Confidentiality
   Order has been read and understood and that the terms shall be binding on the individual. No
   individual shall receive any protected information until the party or attorney proposing to
   disclose the information has received the signed certification from the individual. A form for
   such certification is attached to this Confidentiality Order as Exhibit A. The party or attorney
   receiving the completed form shall retain the original and provide a copy to opposing counsel.

   8.     Disclosure to Independent Experts or Consultants.

           Independent experts or consultants include individuals retained by a party for purposes
   related to prosecution or defense of this proceeding but who are not otherwise employees of
   either the party or its attorneys.




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         Prior to disclosing Confidential Information or Confidential Attorneys’ Eyes Only
  Information to a party’s proposed expert, consultant or their employees, the party shall provide
  this Confidentiality Order, obtain the certification attached to this Confidentiality Order as
  Exhibit A, and the resume or curriculum vitae of the proposed expert or consultant to opposing
  counsel.

          The receiving party shall have seven (7) business days to object to disclosure to the expert
  or independent consultant. If objection is made, then the parties must negotiate the issue before
  raising the issue before the Court. If the parties are unable to settle their dispute, then it shall be
  the obligation of the party or attorney proposing disclosure to bring the matter before the Court
  with an explanation of the need for disclosure and a report on the efforts the parties have made
  to settle their dispute. The party objecting to disclosure will be expected to respond with its
  arguments against disclosure or its objections will be deemed waived.

  9.     Responses to Written Discovery.

          Responses to interrogatories under Federal Rule 33 and requests for admissions under
  Federal Rule 36 which the responding party reasonably believes to contain protected information
  shall be prominently stamped or marked with the appropriate designation from Paragraph 2. Any
  inadvertent disclosure without appropriate designation shall be remedied as soon as the
  disclosing party learns of its error, by informing all adverse parties, in writing, of the error. The
  parties should inform the Court only if necessary because of the filing of protected information
  not in accordance with the provisions of Paragraph 15. Nothing in this Order prohibits the parties
  from producing redacted documents that are otherwise responsive to discovery.

  10.    Production of Documents.

          If a party responds to requests for production under Federal Rule 34 by making copies
  and forwarding the copies to the inquiring party, then the copies shall be prominently stamped
  or marked, as necessary, with the appropriate designation from Paragraph 2. If the responding
  party makes documents available for inspection and copying by the inquiring party, all
  documents shall be considered protected as Attorneys’ Eyes Only designated during the course
  of inspection. After the inquiring party informs the responding party what documents are to be
  copied, the responding party will be responsible for prominently stamping or marking the copies
  with the appropriate designation from Paragraph 1. Any inadvertent disclosure without
  appropriate designation shall be remedied as soon as the disclosing party learns of its error, by
  informing all adverse parties, in writing, of the error. The parties should inform the Court only
  if necessary because of the filing of protected information not in accordance with the provisions
  of Paragraph 15. Nothing in this Order prohibits the parties from producing redacted documents
  that are otherwise responsive to discovery.

  11.    Depositions.

      Protected documents produced during a discovery deposition, or offered into evidence during
  a testimony deposition shall be orally noted as such by the producing or offering party at the



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  outset of any discussion of the document or information contained in the document. In addition,
  the documents must be prominently stamped or marked with the appropriate designation.

          The transcript of any deposition and all exhibits or attachments shall be considered
  protected Attorneys’ Eyes Only designated for 20 days following the date of service of the
  transcript by the party that took the deposition. During that 20-day period, either party may
  designate the portions of the transcript, and any specific exhibits or attachments, that are to be
  treated as protected, by electing the appropriate designation from Paragraph 2. Appropriate
  stampings or markings should be made during this time. If no such designations are made, then
  the entire transcript and exhibits will be considered unprotected.

  12.    Use of Information at Trial.

          When a party or its attorney introduces protected testimony or documents in connection
  with trial, the party or attorney is bound to honor designations made by the adverse party or
  attorney, or non-party witness, who disclosed the information, so as to maintain the protected
  status of the information for all purposes during the course of this lawsuit.

  13.    Briefs.

          When filing briefs, memoranda, or declarations in support of a motion, or in connection
  with trial, the portions of these filings that discuss protected information, whether information
  of the filing party, or any adverse party, or any non-party witness, should be redacted. The rule
  of reasonableness for redaction is discussed in Paragraph 15 of this Confidentiality Order.

  14.    Handling of Protected Information.

          Disclosure of information protected under the terms of this Confidentiality Order is
  intended only to facilitate the prosecution or defense of this case. The recipient of any protected
  information disclosed in accordance with the terms of this Order is obligated to maintain the
  confidentiality of the information and shall exercise reasonable care in handling, storing, using
  or disseminating the information.

          All materials designated Confidential Information or Confidential Attorneys’ Eyes Only
  of a party shall remain the exclusive property of such party and no right, title or interest in or to
  any of the Confidential Information or any material developed therefrom is transferred to the
  recipient party hereby or by its delivery to the recipient party hereunder.

  15.    Redaction; Filing Material With the Court.

        Nothing herein shall supersede or otherwise alter the requirements of Local Rule 5.4 and
 Federal Rule of Civil Procedure 26(c)(H).

         When a party or attorney must file protected information with the Court, or a brief that
  discusses such information, the protected information or portion of the brief discussing the same



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  should be redacted from the remainder. A rule of reasonableness should dictate how redaction
  is effectuated.

         Redaction can entail merely covering a portion of a page of material when it is copied in
  anticipation of filing but can also entail the more extreme measure of simply filing the entire
  page under seal as one that contains primarily confidential material. If only a sentence or short
  paragraph of a page of material is confidential, covering that material when the page is copied
  would be appropriate. In contrast, if most of the material on the page is confidential, then filing
  the entire page under seal would be more reasonable, even if some small quantity of non-
  confidential material is then withheld from the public record. Likewise, when a multi-page
  document is in issue, reasonableness would dictate that redaction of the portions or pages
  containing confidential material be effected when only some small number of pages contain such
  material. In contrast, if almost every page of the document contains some confidential material,
  it may be more reasonable to simply submit the entire document under seal. Occasions when a
  whole document or brief must be submitted under seal should be very rare.

         Protected information, and pleadings, briefs or memoranda that reproduce, discuss or
  paraphrase such information, shall be filed with the Court under seal. The envelopes or
  containers shall be prominently stamped or marked with a legend in substantially the following
  form:


                                         CONFIDENTIAL

          This envelope contains documents or information that are subject to a confidentiality
  order or agreement. The confidentiality of the material is to be maintained and the envelope is
  not to be opened, or the contents revealed to any individual, except by order of the Court.


  16.    Handling of Materials After Termination.

         Within sixty (60) calendar days after final judgment in this action, including the
  exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a
  settlement agreement, each party or other person subject to the terms of this Confidentiality
  Order shall be under an obligation to destroy or return to the producing party all materials and
  documents containing Confidential Information or Confidential Attorneys’ Eyes Only
  Information, and to certify to the producing party such destruction or return.

  17.    Remedies.

          It is ordered by the Court that this Confidentiality Order will be enforced by the sanctions
  set forth in Rule 37(b) of the Federal Rules of Civil Procedure and such other sanctions as may
  be available to the Court, including the power to hold parties or other violators of this
  Confidentiality Order in contempt. All other remedies available to any person(s) injured by a
  violation of this Confidentiality Order are fully reserved.



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              Any party may petition the Court for good cause shown, in the event such party desires
     relief from a term or condition of this Confidentiality Order.

     18.    Other Rights of the Parties and Attorneys.

            This Confidentiality Order shall not preclude the parties or their attorneys from making
     any applicable claims of privilege during discovery or at trial. Nor shall this Confidentiality
     Order preclude the filing of any motion with the Court for relief from a particular provision of
     this Confidentiality Order or for additional protections not provided by this Confidentiality
     Order.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, on September 19, 2022.


                                                    __________________________________
                                                    ALICIA O. VALLE
                                                    UNITED STATES MAGISTRATE JUDGE

cc: U.S. District Judge Rodney Smith
All Counsel of record




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                                                 EXHIBIT A

                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


    ATLANTIC WINDOW CLEANING, INC.

                            Plaintiff,

    v.                                                   Case No.: 22-60409-CIV-SMITH/VALLE

    RACHEL EULER, et al.

                            Defendant.


           I,                                     , pursuant to 28 U.S.C. § 1746, hereby declare
   as follows:

          1.      My address is                                         .
          2.      My present employer is                                .
          3.      My present occupation or job description is
                                                                                       .
           4.     I have received a copy of the Confidentiality Order in this case.
           5.     I have carefully read and understand the provisions of the Confidentiality Order.
           6.     I will comply with all of the provisions of the Confidentiality Order.
           7.     I will hold in confidence, and not disclose to anyone not qualified under the Order,
   any Confidential Information, Confidential Attorneys’ Eyes Only information, or information
   derived therefrom, including words, substance summaries, abstracts or indices of such disclosed
   to me.
           8.     I shall return all materials containing Confidential Information, Confidential
   Attorneys’ Eyes Only information, and summaries, abstracts, and indices thereof, and copies
   thereof, which come into my possession, and documents or things which I have prepared relating
   thereto, to counsel for the party by whom I am employed, retained, or otherwise associated,
   pursuant to the Confidentiality Order.
           9.     This Declaration was executed in the United States.
           10.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of
   the Confidentiality Order in this case.

        *    *   *
   FURTHER DECLARANT SAYETH NAUGHT.

   I declare under penalty of perjury that the foregoing is true and correct.

Dated: _______________________                           ___________________________________
                                                                        Signature
